Case: 1:17-md-02804-DAP Doc #: 4418-1 Filed: 05/04/22 1 of 2. PageID #: 578222




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                  Case: 1:17-md-02804-DAP Doc #: 4418-1 Filed: 05/04/22 2 of 2. PageID #: 578223


Subdivision           State   Signed With Permission                      Name of At Least One Law Firm of Record           Jurisdiction Docket Number

Surprise City          AZ     /s/ Theodora Oringher PC                    Theodora Oringher PC                                NDOH      1:21‐op‐45091‐DAP

Apache County          AZ     /s/ Theodora Oringher PC                    Theodora Oringher PC                                NDOH      1:21‐op‐45084‐DAP
                              /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Española City          NM                                                                                                     NDOH      1:19‐op‐46142‐DAP
                              Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.
                              /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Hobbs City             NM                                                                                                     NDOH      1:19‐op‐46068‐DAP
                              Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.
                              /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Las Cruces City        NM                                                                                                     NDOH      1:21‐op‐45059‐DAP
                              Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.
